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     Fax: (415) 255-8631
 4   jdrous@msn.com
 5   Attorney for Defendant
     RALPH PETERS
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 8
                                   UNITED STATES DISTRICT COURT
 9
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. CR 05-00465 JSW
12                  Plaintiff,                            STIPULATION AND ORDER RE:
     vs.                                                  MODIFICATION OF PRE-TRIAL
13                                                        RELEASE
     RALPH PETERS,
14
                 Defendant.
15   ______________________________/
16          IT IS HEREBY STIPULATED by the parties in the above-entitled action that defendant
17   RALPH FRANK PETERS may be released from Cornell Corrections, 111 Taylor facility, from
18   Monday, December 19, 2005, until Wednesday, January 11, 2006, to spend the winter holiday with
19   his sister, Josephine Boyd, at 833 W. Padilla, #B, San Gabriel Valley, California (626-293-8048).
20   Steve Sheehan, Mr. Peters’ pre-trial services worker has no objection to this request.
21
22   Dated: December 12, 2005                                        /s/
                                                           JULIANA DROUS
23                                                         Attorney for Defendant
                                                           RALPH PETERS
24
25   Dated: December13, 2005                                         /s/
                                                           MONICA FERNANDEZ
26                                                         Assistant U.S. Attorney
27
     STIPULATION AND ORDER RE:
28   CONDITIONS OF PRE-TRIAL RELEASE
     Case 3:05-cr-00465-JSW            Document 122       Filed 01/11/06 Page 2 of 2
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 1            IT IS SO ORDERED.




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 2                                                        IT IS S




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 3   Dated:                                                                 arson
               12/15/05                                             mes L




                                                 NO
                                                  HONORABLEJudge JaJAMES LARSON




                                                                                           FO
 4                                                U.S. District Court Magistrate Judge




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     STIPULATION AND ORDER RE:
28   CONDITIONS OF PRE-TRIAL RELEASE
